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IN THE UNITED STATES DISTRICT COURT OB DTIC count
FOR THE DISTRICT OF MARYLAND By iin
Kenneth A. Greene ¥
3425 St. Ambrose Avenue .
Baltimore, MD 21215 +
Plaintiff *
v. * JURY TRIAL DEMANDED
.
Bluestem Sales, Inc. ° Civil Action No. WMN 15-cv-1181
d/b/a Fingerhut .
6509 Flying Cloud Drive #200 *
Eden Prarie, MN 55344 +
Defendant °
KEERKAKEEEEEERAEESEEKEEEE
PRAECIPE FOR DISMISSAL

Plaintiff, Kenneth A. Greene, hereby moves for dismissal of the instant complaint, with

prejudice.
Kou A. Greene

 

 

 

* GRANTED " THIS 2nd DAY
OF _October , 20.15

Ls/
SENIOR UNITED STATES D¥""° “T JUDGE

WILLIAM M. NICKERSON
